Case 3:18-cv-00165-MAB Document 1-5 Filed 02/02/18 Page 1 of 12 ‘Page ID #64

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- Union County Hospital
- 517 North main Street
- Anna, IL 62906

- 618 833 4511

- RADIOLOGY REPORT

NAME: WHITE, RICHARD ~

MRN : 1049738 ROOM: DOB: 10/08/1981
ACCOUNT#: 4325381 BED: AGE: 36 ¥
ACCESSION#: 43253810000100 SEX: M

EXAM: MRLIS MRI LOWER JOINT wo DOS: 12/19/2017
DICTATED BY: MUELLER, DAVID

ORDERED BY: DAVID, ALFONSO c

ATTENDING PHYSICIAN: DAVID, ALFONSO Cc

PRIMARY CARE PHYSICIAN; DAVID, ALFONSO C

~ EXAM? —MRI Tower joint /~left knee without contrast,

HISTORY: Left knee pain. No left knee surgery reported, ,

TECHNIQUE: Using a local extremity coil ona high field strength
Magnet multiplanar multisequence MRI was performed of the left knee
without intravenous or intra-articular gadolinium contrast.

FINDINGS: I do not have prior radiographs of the left knee available
for comparison at the time of this dictation.

Within the medial compartment there is a large bucket-handle tear
medial meniscus involving portions of the Baty as well as anterior and
sa ,

po with torn/displaced portion of meniscus along the
medial aspect of the intercondylar notch. The medial compartment
Cartilage congruent. Trace joint centered subchondral bone marrow
edema over the medial wei ghtbearing aspect of the medial compartment
as well as some seen over the medial tibial spine.

Within the lateral] compartment the lateral] meniscus is intact without
discrete surfacing meniscal tear. The lateral compartment Cartilage
congruent without underlying subchondral edema.

within the patellofemoral Compartment there js a lateral
tilt/subluxation of the patella with respect to the trochlear groove.
Patella high-riding. patellar and trochlear groove cartilage
otherwise congruent without focal underlying subchondral edema.

Moderate sized left knee effusion. Prominent plica. wo large
osteochondral loose bodies. Intact PCL fibers, High -grad
ial /near full-thickness tearing of the ACL. There are ouch: to

be some stretched/lax aim ve bers remaining.. No definitive
anterior translation of the tibia with respect to the femur. The
extensor mechanism is intact. The medial collateral ligament as well
as lateral collateral ligament
intact. Overall bone marrow si

or bone erosions..

#605 P.O02/0085

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IMPRESSION: Large bucket-handle tear medial meniscus. fy 3 of 1

- Page 1 of 2

- RADIOLOGY REPORT

 

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PRIMARY CARE PHYSICIAN: DAVID, ALFONSO C

 

Trace joint centered subchondral bone marrow edema over: the medial
weightbearing aspect of the medial compartment.

Moderate sized left effusion. Prominent plica.
Lateral tilt/subluxation of the patella which is high-riding.

High- grade partial/near full-thickness tearing of the ACL. There are
thought to be some stretched/lax diminutive fibers remaining. Intact
PCL. Intact collateral ligaments.

Recommendation is obtainment and correlation with plain film
radiographs of the left knee to include tangential view as none are
available for comparison at the time of this dictation.

-~ This document is electronically signed by: David Mueller = on
12/19/2017 at 11:51 AM (CST) .

DAVID MUELLER M.O.

D Date/Time: 12/19/2017 11:51 Am CT
T Date/Time: 12/19/2017 11:51 AM CT
MT: DAM

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Medscape

MRI for Anterior Cruciate Ligament Injury

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Updated: Jan 24, 2016 Epaiv't (D
Author: Anton M Allen, MD; Chief Editor: Felix S Chew, MD, MBA, MEd mote... (9, 3 of |

 

OVERVIEW

 

Overview

The anterior cruciate ligament (ACL) is the most commonly injured of the major knee
ligaments. These injuries plague both athletes and nonathletes. The ACL is a vital
ligamentous stabilizer of the knee that resists anterior translation and secondarily resists
varus and valgus forces. "! The ACL also functions as a mechanoreceptor that relays
information about knee tension to the central nervous system. Patients with ACL injury have
variable knee instability that may limit even ordinary daily activities. They experience
particular difficulty pivoting and ambulating on uneven surfaces, The torn ACL undergoes
limited healing. Long-term morbidity is common with sequelae including osteoarthritis and

secondary meniscal tears. ** 4°)

See the image below.

 

Acute anterior cruciate ligament (ACL) tear. T2-weighted sagittal image in 22-year-old woman.
Females have a variably increased incidence of ACL injury per hour of participation in activities at risk.

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meniscal injury settings, a negative MRI largely excludes derangements that will benefit from

arthroscopy. !"*! epi ) Cy)

While accurate in the diagnosis of ACL injury, MRI findings are not helpful in ruling in or e oF (I

“ruling out knee instability. Evaluation of instability enters strongly into the decision to opt for
conservative or surgical treatment, and this remains a clinical assessment. |"4) .

 

 

Clinical diagnosis

The skilled clinician can diagnose as many as 90% of ACL tears based on history and
physical examination findings. "*: "9! Patients typically report an audible pop and "giving way’
at the time of injury. A knee effusion usually develops over the next 24 hours. A tear is

Confirmed by physical examination, primarily by performing the Lachman test." The anterior
drawér and pivot shift tests are often helpful, and ‘arthrometric 6xamination may be —
contributory. Arthroscopy and arthrotomy are the criterion standards for diagnosis, but they
are obviously more invasive and costly. ''7 "8 19:20 21)

Physical diagnosis is particularly difficult in large patients, in patients with strong secondary
muscular restraints, and in patients with an acute injury and soft-tissue swelling and

guarding, Partial ACL tears are also difficult to diagnose on physical examination. 22 MIRI
may provide pivotal diagnostic information about the ACL in all of these settings." **!

Treatment

Treatment of ACL tears ranges from conservative therapies (bracing and physical

rehabilitation) to surgical ACL reconstruction. 4! More limited surgical interventions such as
native ligament repair or augmentation have gained little traction in the orthopedic
community.

The patient's activity level (and expectation for activity in the future) is the most important
factor guiding the choice of treatment. l Associated meniscal and ligamentous injuries, the
degree of laxity, and the patient's age and willingness to pursue vigorous postoperative
physical therapy are other major determinants; SO

ACL graft reconstruction stabilizes the ACL-deficient knee, thus increasing the range of
activities tolerated and preventing reinjury from repeated subluxation. ACL reconstruction,

however, has not been proven definitively-to prevent long-term osteoarthritic deterioration. [t,

25] A study by Potter et al provides some evidence of chondroprotective effects of surgery in
the medial and’patellofemoral compartments. This study, however, concluded that all
patients with an ACL injury incur articular chondral injuries and that variable progression of
osteoarthritis develops over time in any or all of the 3 knee compartments, accelerating at

5-7 years after injury. 7°!

ACL reconstruction is typically delayed several weeks or months until swelling has subsided
and range of motion is restored. It is purported that late surgery decreases postprocedural

stiffness; however, the-effect-on long-term outcomes is less clear.’ Longer delays before

https://emedicine.medscape.com/article/400547-overview 12/12/2017
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‘derangements, especially medial meniscal tears

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For patient education information, see the Sprains and Strains Center, as well as Knee Ebb Cp)
Injury, Knee Pain, and Magnetic Resonance Imaging (MRI). BuO

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Anatomy

 

The anterior cruciate ligament (ACL) is a dense fibrous band composed of collagen fibrils. It
is approximately 3.5-3.8 cm long and 1 cm in transverse diameter. °! The ligament
originates from the posteromedial aspect of the lateral femoral condyle (well posterior to the
longitudinal mid axis of the femur) in the intercondylar notch. It courses through the notch in
an anterior, inferior, and medial direction. #! The distal ligament diverges, forming a roughly
11-19 mm horseshoe-shaped tibial insertion footprint. It inserts well posterior on the tibia,
averaging 23 mm posterior to the anterior edge. The ligament does not typically insert
directly on the medial intercondylar eminence (medial tibial spine), instead inserting just
anterior and lateral to it. ?° °°! The ACL is not as strong as the posterior cruciate ligament
(PCL), and it is less strong at its femoral origin than at its tibial insertion. ”*!

See the images below.

 

Anterior cruciate ligament (ACL) anatomy in the sagittal plane. Sagittal T1-weighted image. The ACL
arises from the posterior aspect of the medial surface of the lateral femoral condyle, high in the
intercondylar notch. It courses obliquely anterior, bands diverging distally, to insert on the tibia well
posterior to the anterior margin. The ligament is low signal in nature due to its collagenous nature, but
higher signal than the posterior cruciate ligament (PCL).

 
 

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anatomy in the coronal plane. Coronal T1-weighted MRI shows the lateral position of the ACL in
the intercondylar notch (arrow), surrounded by high-signal fat. Note the slanted course of the ligament.
The ACL bundles diverge distally at their tibial insertion medial to the anterior intercondylar eminence.

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Anterior cruciate ligament (ACL) anatomy in the axial plane. A fat-saturated neutral-weighted MRI
shows the collagenous low-signal ACL positioned in the lateral aspect of the intercondylar notch
(arrow). Distally (not shown) the ACL moves away from the wall and diverges into a horseshoe-array of

multiple fascicles.

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The ACL is organized into anteromedial and posterolateral bundles. The bundles are named

for their locations relative to each other at their tibial insertion. “° °" The biomechanics of the
bundles are complex and are under i increasing investigation. tl is Itis generally state stated the that the.

tibia in jin flexion, \ while ‘the bulkier and less isometric posterolateral bundle tightens with. knee
extension and resists hyperextension. 91 The physiologic property in which different parts
of the spriraled ACL are taut at different points in the normal range of motion is termed
isometry. Graft isometry is a stated goal of reconstructive surgery: the differing attachments
and roles of the 2 bundles are the basis for the current intense investigational interest in
double-bundle ACL reconstruction surgery.

Interestingly, Smigielski et al dissected 111 cadavers and found that the ACL consistently
demonstrates a flattened ribbon-like segment just 2mm from its femoral origin that is devoid

of double bundle anatomy. ©?!

Cadaver and clinical studies have shown the normal anteromedial and posterolateral

bundles to be distinguishable in most patients at 3-Tesla. °°: **: °°! Visualization of bundle
anatomy is limited at 1.5 Tesla and low-field MRI imaging.

See the image below.

  

Normal double bundle anterior cruciate ligament (ACL) anatomy. Axial and coronal proton density-
weighted fat-saturation 3-Tesla images demonstrate normal anteromedial and posterolateral bundles
in 2 different patients.

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The ACL is an extrasynovial and intracapsular ligament. Bands of mesentery-like synovium,
arising from the posterior intercondylar region of the tibia, surround the cruciate ligaments.

29] This feature accounts for fluid often seen anterior to the normal ACL (and posterior to the
PCL) on MRI. The extrasynovial location also helps explain why hemarthrosis is often
delayed in the setting of an acute ACL tear.

The primary blood supply to the ACL derives from arteries to the surrounding synovial
membrane. These, in turn, derive from branches of the middle geniculate artery piercing the

posterior capsule. 7°! The central core of the ACL is relatively avascular. This helps
explain the generally ineffective healing of ACL tears. Tibial nerve terminal branches

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innervate the ACL. "9! Sensory mechanoreceptors are present, and this causes loss of etih'} Cp)
proprioception in ACL-injured patients that can be clinically significant. ™ ~
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Mechanism of Injury

Mechanisms of anterior cruciate ligament (ACL) injury are numerous. Alpine-skiing ACL
injury studies have served to demonstrate the complexity of this subject: a welter of
characteristic mechanisms of injury have been identified in skiers, including aggressive
quadriceps contraction, boot-induced injuries, "phantom foot" injuries, hit-from-behind
injuries, and various types of valgus, rotatory, and hyperextension injuries. ACL tear
mechanisms in fact will be only superficially discussed in this article.

ACL tears occur with or without contact and with the knee in any position from flexed to fully
extended. A well-known contact mechanism of injury is the valgus-abduction clip injury. °™
These injuries are frequent in football players and occur with a lateral blow to the partially
flexed knee. Coexisting medial and lateral meniscal tears are common, as are medial
collateral ligament (MCL) injuries.

Hyperextension or varus-hyperextension from an anterior blow (eg, injury from a motor
vehicle accident or contact sports) is the second most common contact mechanism of ACL
injury. The posterior cruciate ligament (PCL) and posterolateral-corner structures are also
frequently injured. With more severe hyperextension, the knee may dislocate; the popliteal
neurovascular bundle or peroneal nerve may be injured in this setting.

See the image below.

 

Hyperextension anterior "kissing" bone bruises in patient with anterior cruciate ligament (ACL) tear.
Sagittal T2-weighted image in 25-year-old man. Anterior bone bruises of this nature indicate a

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hyperextension mechanism of injury. The reader should thus be alert for the possibility of ACL,
posterior cruciate ligament (PCL), lateral collateral ligament (LCL), and neurovascular i injuries. (This
patient had ACL and LCL tears.) cthuit (>)

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However, noncontact mechanisms account for the majority (70-80%) of ACL tears. ®° *9 The
pivot-shift mechanism (see the images below) is most commonly implicated: the slightly
flexed knee incurs a valgus load, with internal rotation of the tibia or external rotation of the
femur. Some studies indicate that the initial loading of the ACL is actually due to anterior

drawer translation of the lateral tibia (marked quadriceps loading implicated), with the pivot-

shift rotation occurring microseconds later. © These pivot-shift injuries often occur with
rapid simultaneous deceleration and directional movements in skiers and football,

basketball, and soccer players. Lo associated meniscal tears and collateral ligament

 

Pivot-shift twisting mechanism lateral bone bruises in a patient with anterior cruciate ligament (ACL)
tear. T2-weighted sagittal image in 22-year-old woman. This pattern of lateral bone bruises occurs with
lateral rotation of the femur relative to the tibia and indicates a very high likelihood of an associated
ACL injury. This patient had meniscal and medial collateral ligament (MCL) injuries in addition to an
ACL tear.

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Noncontact hyperextension, such as that occurring in a gymnast or cheerleader who misses
a landing, is another mechanism of injury that often injures the ACL. 8”

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sleavistialization as a primary sign of ACL tear. Complete (or near-complete) nonvisualization of the

ACL on sagittal images with ill-defined edema and hemorrhage in the usual location of the ACL is a

very common presentation of ani an acute tear. ‘Note: the normal ACL is sometimes poorly seen on low

-echo-time (T1 or gradient echo) ‘sagittal images; this usually does not present a problem in
interpretation if T2 images, and images in other planes are carefully correlated.

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Nonvisualization of the ACL as a primary sign of a : tear in a T2-weighted sequence. Sagittal T2-
weighted fat-saturated fast spin-echo (FSE) image shows replacement of the ACL in the intercondylar
notch by extensive edema- fluid signal intensity.

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Primary signs of an ACL tear. Sagittal | image (top left) demonstrates high-signal disruption of the ACL
with multifragmented appearance. Coronal T2 (top right) and T1 (below) images | ‘show nonvisualization
of ACL fibers and abnormal increased edema and fluid in the aaa a rnotch.

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Flattened axis of the distal ACL as a primary sign of ACL tear. This sign has very high specificity for
ACL injury. Visualization of the proximal ACL is poor, further confirming tear.

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